    Case 3:19-md-02885-MCR-GRJ Document 3407 Filed 08/25/22 Page 1 of 5




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                           Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION


 This Document Relates to:                       Judge M. Casey Rodgers
 All Cases                                       Magistrate Judge Gary R. Jones


                                        ORDER

       This matter is before the Court on 3M Company’s Emergency Motion for a

Stay Pending Appeal, ECF No. 3395, which Plaintiff Richard Valle opposes. ECF

No. 3401. The motion seeks to stay the enforcement of the Court’s recently entered

All Writs Act injunction. ECF No. 3395. On careful consideration, the Court will

grant the motion to stay as to a portion of the injunction but deny the motion to the

extent it requests a stay of the injunction in its entirety.

       Federal Rule of Civil Procedure 62(d) provides that “[w]hile an appeal is

pending from an interlocutory order or final judgment that grants . . . an injunction,

the court may suspend, modify, restore, or grant an injunction on terms . . . that

secure the opposing party’s rights.” The rule simply “codifies the inherent power of

courts to make whatever order is deemed necessary to preserve the status quo”

pending appeal. 11 C. Wright, A. Miller, & M. Kane, Federal Practice and Procedure

§ 2904 (3d ed. 2022) (citing Pettway v. Am. Cast Iron Pipe Co., 411 F.2d 998 (5th
    Case 3:19-md-02885-MCR-GRJ Document 3407 Filed 08/25/22 Page 2 of 5

                                                                             Page 2 of 5


Cir. 1969)). However, courts cannot use this inherent power to substantially alter the

original injunction while an appeal is pending because doing so would divest the

appeals court’s jurisdiction over the issue. See Coastal Corp. v. Tex. E. Corp., 869

F.2d 817, 819–20 (5th Cir. 1989) (collecting cases) (“[W]e are persuaded that the

powers of the district court over an injunction pending appeal should be limited to

maintaining the status quo” and should not “divest the court of appeals from

jurisdiction . . . .”).

       On August 16th, 2022, the Court issued an All Writs Act injunction

preventing 3M from “attempting to relitigate the same or related issues precluded by

the principles of res judicata and collateral estoppel” and from “supporting, directly

or indirectly, financially or otherwise, any collateral attack on this Court’s orders by

any other parties in any other forum, including Aearo.” In re 3M Combat Arms

Prods. Liab. Litig., Case No. 3:19md2885, ECF No. 3389 at 8 (N.D. Fla. Aug. 16,

2022). Understanding that the automatic bankruptcy stay was, and still is, in place

as to Aearo, the Court’s intent was not to impact Aearo or interfere with its ability

to act in bankruptcy court; the sole purpose of the injunction was to prohibit 3M

Company from collaterally attacking the Court’s orders in another jurisdiction.

Notwithstanding, it appears that one part of the Court’s injunction; i.e. prohibiting

3M Company from “supporting, directly, or indirectly, financially or otherwise, a

collateral attack on this Court’s orders by any other parties in any other forum,
    Case 3:19-md-02885-MCR-GRJ Document 3407 Filed 08/25/22 Page 3 of 5

                                                                               Page 3 of 5


including Aearo” may in fact interfere with Aearo’s ability to act in the bankruptcy

court in light of the funding agreement between 3M and Aearo. See ECF No. 3395

at 9–10. Accordingly, the Court will grant 3M’s request for a limited stay as to this

specific provision.

       This does not resolve 3M’s motion, however, because 3M seeks a stay of the

injunction in its entirety pending appeal. See ECF No. 3395.

      An injunction is not stayed pending appeal “[u]nless the court orders

otherwise.” Fed. R. Civ. P. 62(c). Thus, granting a stay is within the discretion of the

district court. 11 C. Wright, A. Miller, & M. Kane, Federal Practice and Procedure

§ 2904 (3d ed. 2022) (explaining that “[a]n application under Rule 62(c) . . .

necessarily goes to the discretion of the court”). “The party requesting a stay bears

the burden of showing that the circumstances justify an exercise of that discretion.”

Nken v. Holder, 556 U.S. 418, 433–34 (2009) (citing Clinton v. Jones, 520 U.S. 681,

708 (1997)). In particular, the moving party must show that (1) there is a substantial

likelihood of success on the merits, (2) the party “will be irreparably injured absent

the stay,” (3) the stay will not “substantially injure the other parties interested in the

proceeding,” and (4) the stay promotes the “public interest.” See id. at 434 (citing

Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

      3M argues that it “faces imminent and irreparable harm” absent a stay because

the Court’s entire injunction “essentially bar[s] 3M from participating” as an
    Case 3:19-md-02885-MCR-GRJ Document 3407 Filed 08/25/22 Page 4 of 5

                                                                            Page 4 of 5


interested party in Aearo’s bankruptcy proceedings. See ECF No. 3395 at 7, 9–10.

3M’s broad assertion fails to reference a single action 3M or Aearo is prohibited

from taking based on the Court’s injunction. 3M offers no explanation of how 3M

(a nondebtor) is prohibited by the injunction from “participating” in the bankruptcy

proceedings, and there is certainly no showing of imminent harm, especially given

the Court’s decision to stay the only provision of the injunction that arguably impacts

the bankruptcy proceeding. See ECF No. 3395 at 7.

      Furthermore, it is nonsensical to argue—as 3M has—that a stay of the Court’s

injunction promotes the public interest when the Court issued the injunction for the

very purpose of promoting the public interest. See ECF No. 3395 at 12. Clearly, the

Court’s injunction promotes the public interest by preserving the finality of the

Court’s orders and judgments in the MDL, conserving scarce judicial resources that

have been exhaustively extended during the prior three and half years of litigation

in the MDL. See, e.g., B&B Hardware, Inc. v. Hargis Industries, Inc., 575 U.S. 138,

148 (2015) (“The idea [of issue preclusion] is straightforward: Once a court has

decided an issue, it is forever settled . . . between the parties, thereby protecting

against the expense and vexation attending multiple lawsuits, conserving judicial

resources, and fostering reliance on judicial action by minimizing the possibility of

inconsistent verdicts.”) (internal alterations and citations omitted). Granting 3M the

stay it requests would completely undermine the basis of the injunction in the first
     Case 3:19-md-02885-MCR-GRJ Document 3407 Filed 08/25/22 Page 5 of 5

                                                                                                Page 5 of 5


instance and give 3M carte blanche to do the very thing the injunction is designed to

prevent while the case is on appeal. 1

        Accordingly, 3M’s motion, ECF No. 3395, is GRANTED IN PART and

DENIED IN PART. 2

        DONE AND ORDERED this 25th day of August 2022.

                                             M. Casey Rodgers
                                         M. CASEY RODGERS
                                         UNITED STATES DISTRICT JUDGE




        1
          This is quite different from granting a stay of the imposition of sanctions in connection with the
violation of an injunction or court order, which is routinely done pending appeal.
        2
          3M’s motion could have been denied without prejudice on an independent procedural
basis, namely 3M’s failure to comply with the mandatory counsel certification requirement in the
Local Rules for Northern District of Florida, see N.D. Fla. Loc. R. 7.1(B)-(C). 3M offered no
explanation for its failure to comply with this requirement when filing its motion. Failure to comply
with these rules may result in a dismissal of the motion without prejudice to refile the motion once
the party complies with the local rule. See N.D. Fla. Loc. R. 41.1 (“If a party fails to comply with
an applicable rule . . ., the Court may strike a pleading, dismiss a claim, enter a default on a claim,”
or “take other appropriate action.”). While 3M’s failure to abide by the Local Rules would
constitute a basis for denying relief, the Court finds it more appropriate under the circumstances
to address the motion on the merits.
